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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
        Plaintiff,                                  )
                                                    )       Case No. 4:19-CR-00116-JMB
vs.                                                 )
                                                    )
KENNETH A. GROOMS, II,                              )
                                                    )
        Defendant.                                  )

                        REPLY IN SUPPORT OF MOTION TO MODIFY
                          CONDITIONS OF DEFENDANT’S BOND

        COMES NOW Defendant Kenneth A. Grooms, by and through his Counsel, Luke A.

Baumstark of the Baumstark Firm, LLC, and for his Reply in Support of his Motion to Modify

the Conditions of his Bond, states:

        1.       In the Government’s Response in Opposition to Defendant’s Motion to Modify

Conditions of Pretrial Release (“Government’s Opposition”), the Government provides no

reasonable basis to believe that Defendant Grooms poses any threat to the alleged victim.

        2.       Indeed, the harshest conduct alleged by the Government is berating the alleged

victim, while supposedly having his hand on his gun.1

        3.       Notably, the Government does not allege that the Defendant released the strap

which keeps his gun holstered, or that he pressed either of the buttons that he would need to in

order to remove the gun from its holster. In short, the Government’s allegation, even if true,

does not show Defendant taking any affirmative steps toward using his gun, or even attempting

to do so.

1
  The Government’s use of the term “berate” is notable in that it is absent from the terms appearing as a synonym
for “threaten.” See e.g. ROGET’S II THE NEW THESAURUS 88, 952 (1980). Indeed, the term “berate” has been
defined as “to scold or rebuke severely.” See e.g. WEBSTER’S NEW WORLD COLLEGE DICTIONARY 136 (4th ed.
1999). This definition is conspicuously bereft of any suggestion of violence.

                                                        1
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         4.       The Government expresses concern over Defendant using “computer databases

and investigative processes, which might allow [him] opportunities to find the [alleged] victim.”

         5.       Even if Defendant posed any threat at all to the alleged victim (which he does not)

and was inclined to misuse the St. Louis Metropolitan Police Department’s resources thusly

(which he is not), doing so would require knowing alleged victim’s name, which Defendant does

not,2 owing (at least in part) to the Government’s thorough redaction of discovery materials.

         6.       Finally, the Government claims that there has been no “truly changed

circumstances” (a standard which it implies, but for which it provides no authority or citation)

warranting a change in Defendant’s bond conditions.

         7.       As noted in Defendant’s Motion, the filing of the Government’s Information

against him has generated significant press coverage, which has continued to proliferate through

social media since Defendant’s initial appearance.

         8.       Moreover, since filing his Motion, this media attention has continued, with

additional coverage by the Riverfront Times.

         9.       Significantly, Defendant has also been contacted on social media by an individual

unknown to him who sent messages reading “Oh, but you’re so tough. No gun for you, punk.”3

         10.      In short, the Government has presented no allegations that Defendant poses any

kind of a credible threat to the alleged victim. Further, publicization of the charges against




2
  Defendant’s ignorance of the identity of the alleged victim is a fact of which the Government is aware. Defendant
has stated in interviews with Government agents that he does not know who the alleged victim is. None of the
discovery materials presented by the Government contradict this.
3
  Counsel for Defendant can produce a screenshot of this contact upon request and anticipates doing so at the
hearing on his Motion. Defendant has not done so here out of concern for the privacy of this individual, despite this
individual’s obvious lack of any concern for Defendant’s privacy.

                                                          2
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Defendant4 have already resulted in unwanted and potentially threatening contact from an

individual unknown to Defendant.

         11.      Because Defendant poses no risk to the alleged victim in this case, restricting

Defendant’s constitutional right to bear arms does not represent the “least restrictive further

condition or combination of conditions” that will assure Defendant’s appearance in Court or the

safety of anyone in the community. See 18 U.S.C. § 3142.

         WHEREFORE, Defendant respectfully requests that this Honorable Court enter an Order

granting his Motion to Modify the Conditions of his Bond and modifying the conditions of his

bond to eliminate condition 7(k), thereby allowing Defendant to continue to provide protection

and security to himself and his family as he prepares his defense.




                                                                    Respectfully submitted,

                                                                    /s/ Luke A. Baumstark
                                                                    LUKE A. BAUMSTARK #56344
                                                                    The Baumstark Firm, LLC
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                                                                    St. Louis, MO 63104
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                                                                    luke@baumstarkfirm.com

                                                                    Attorney for Defendant
                                                                    Kenneth A. Grooms, II




4
  Defendant notes that the Department of Justice issues a press release regarding its charges against him, in addition
to the news outlets mentioned in his Motion.

                                                          3
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 12th day of March, 2019, this document was filed
with the court via the CM/ECF system which will send notice to all parties of record.

                                                   ____/s/ Luke A. Baumstark




                                               4
